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                                                                                                  INVOICE
                                                                                        From      Texas Appleseed
                                                                                                  1609 Shoal Creek Blvd
                                                                                                  Ste 201
                                                                                                  Austin, TX 78701




Invoice ID        26                                                               Invoice For    Texas DFPS/HHSC
Issue Date        10/05/2021

Due Date          11/04/2021 (Net 30)

Subject           Texas Appleseed Monitoring Team; September
                  2021




Item Type         Description                                                         Quantity          Unit Price              Amount

Service           Texas Foster Care Monitoring (09/01/2021 - 09/30/2021)             2,057.91            $279.59           $575,379.75


                                                                                                 Amount Due            $575,379.75




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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                                                                                                    INVOICE
                                                                                           From     Texas Appleseed
                                                                                                    1609 Shoal Creek Blvd
                                                                                                    Ste 201
                                                                                                    Austin, TX 78701




Invoice ID       26                                                                   Invoice For   Texas DFPS/HHSC
Issue Date       10/05/2021

Due Date         11/04/2021 (Net 30)

Subject          Texas Appleseed Monitoring Team; September
                 2021




Item Type        Description                                                             Quantity         Unit Price          Amount

Service          Texas Foster Care Monitoring - 09/01/2021 - Document                       8.00           $120.00           $960.00
                 Review/Data Analysis/Verification Work / Anna Farr


Service          Texas Foster Care Monitoring - 09/01/2021 - Meetings with                  2.25           $250.00           $562.50
                 agency leadership, staff, clients, conference calls, time spent
                 with team, plaintiffs consultants or other providers. / Shay Price


Service          Texas Foster Care Monitoring - 09/01/2021 - Meetings with                  1.50           $250.00           $375.00
                 agency leadership, staff, clients, conference calls, time spent
                 with team, plaintiffs consultants or other providers. / Mahiri
                 Moody


Service          Texas Foster Care Monitoring - 09/01/2021 - Document                       1.50           $300.00           $450.00
                 Review/Data Analysis/Verification Work / Monica Benedict


Service          Texas Foster Care Monitoring - 09/01/2021 - Project                        1.50           $300.00           $450.00
                 Management & Planning / Monica Benedict


Service          Texas Foster Care Monitoring - 09/01/2021 - Document                       8.00           $200.00          $1,600.00
                 Review/Data Analysis/Verification Work / Cassie Davis


Service          Texas Foster Care Monitoring - 09/01/2021 - Document                       3.33           $250.00           $832.50
                 Review/Data Analysis/Verification Work / Catherine Morris


Service          Texas Foster Care Monitoring - 09/01/2021 - Document                       6.00           $250.00          $1,500.00
                 Review/Data Analysis/Verification Work / Mahiri Moody




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Service       Texas Foster Care Monitoring - 09/01/2021 - Document               8.50   $250.00   $2,125.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 09/01/2021 - Meetings with          1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 09/01/2021 - Document              10.67   $325.00   $3,467.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 09/01/2021 - Document               8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 09/01/2021 - Report and             7.75   $395.00   $3,061.25
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 09/01/2021 - Document               2.75   $325.00    $893.75
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 09/01/2021 - Report and             6.00   $250.00   $1,500.00
              Document Preparation / Shay Price


Service       Texas Foster Care Monitoring - 09/01/2021 - Report and            11.00   $325.00   $3,575.00
              Document Preparation / Viveca Martinez


Service       Texas Foster Care Monitoring - 09/01/2021 - Document               2.75   $395.00   $1,086.25
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 09/01/2021 -                        1.50   $395.00    $592.50
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Beth Mitchell


Service       Texas Foster Care Monitoring - 09/01/2021 - Document               3.75   $325.00   $1,218.75
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 09/01/2021 - Meetings with          1.00   $425.00    $425.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 09/01/2021 - Report and             5.50   $425.00   $2,337.50
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 09/01/2021 - EVE/WKND               2.00   $425.00    $850.00
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 09/01/2021 - Document               2.00   $200.00    $400.00
              Review/Data Analysis/Verification Work / Adrian Gaspar




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Service       Texas Foster Care Monitoring - 09/01/2021 - Report and              6.00   $200.00   $1,200.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 09/01/2021 - Meetings with           2.75   $325.00    $893.75
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Victoria
              Foster


Service       Texas Foster Care Monitoring - 09/01/2021 - Report and              1.50   $325.00    $487.50
              Document Preparation / Victoria Foster


Service       Texas Foster Care Monitoring - 09/02/2021 -                         0.50   $250.00    $125.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Catherine Morris


Service       Texas Foster Care Monitoring - 09/02/2021 - Meetings with           1.33   $250.00    $332.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 09/02/2021 - Report and              5.00   $300.00   $1,500.00
              Document Preparation / Monica Benedict


Service       Texas Foster Care Monitoring - 09/02/2021 - Document                0.50   $300.00    $150.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 09/02/2021 - Project                 0.50   $300.00    $150.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 09/02/2021 - Document                8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 09/02/2021 - Document                7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 09/02/2021 - Meetings with           1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 09/02/2021 - Document                5.67   $250.00   $1,417.50
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 09/02/2021 - Document                9.75   $325.00   $3,168.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 09/02/2021 - Document                8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 09/02/2021 - Report and             14.33   $395.00   $5,660.35
              Document Preparation / Linda Brooke


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Service       Texas Foster Care Monitoring - 09/02/2021 - Meetings with             1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 09/02/2021 - Document                  2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 09/02/2021 - Report and                9.50   $250.00   $2,375.00
              Document Preparation / Shay Price


Service       Texas Foster Care Monitoring - 09/02/2021 - Report and               12.50   $325.00   $4,062.50
              Document Preparation / Viveca Martinez


Service       Texas Foster Care Monitoring - 09/02/2021 - Document                  8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 09/02/2021 - Meetings with             2.75   $325.00    $893.75
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 09/02/2021 - Document                  5.42   $325.00   $1,761.50
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 09/02/2021 - Report and                3.50   $425.00   $1,487.50
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 09/02/2021 - Report and                2.50   $425.00   $1,062.50
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 09/02/2021 - EVE/WKND                  1.50   $425.00    $637.50
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 09/02/2021 - Report and                5.00   $200.00   $1,000.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 09/02/2021 - Document                  3.00   $200.00    $600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 09/02/2021 - Report and                6.00   $325.00   $1,950.00
              Document Preparation / Victoria Foster


Service       Texas Foster Care Monitoring - 09/02/2021 - Meetings with             1.00   $325.00    $325.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Victoria
              Foster


Service       Texas Foster Care Monitoring - 09/03/2021 - Document                  6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 09/03/2021 - Document                  7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Mahiri Moody



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Service       Texas Foster Care Monitoring - 09/03/2021 - Project               1.00   $300.00    $300.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 09/03/2021 - Document              2.00   $300.00    $600.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 09/03/2021 - Report and            4.00   $300.00   $1,200.00
              Document Preparation / Monica Benedict


Service       Texas Foster Care Monitoring - 09/03/2021 - Document              4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 09/03/2021 - Document              9.00   $325.00   $2,925.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 09/03/2021 - Meetings with         1.50   $250.00    $375.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 09/03/2021 - Document              8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 09/03/2021 - Report and            7.50   $250.00   $1,875.00
              Document Preparation / Shay Price


Service       Texas Foster Care Monitoring - 09/03/2021 - Report and            6.00   $325.00   $1,950.00
              Document Preparation / Viveca Martinez


Service       Texas Foster Care Monitoring - 09/03/2021 - Document              8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 09/03/2021 - Document              2.00   $425.00    $850.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 09/03/2021 - Report and            3.50   $425.00   $1,487.50
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 09/03/2021 - Report and            6.50   $200.00   $1,300.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 09/04/2021 - Document              5.42   $325.00   $1,761.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 09/04/2021 - Document              4.00   $250.00   $1,000.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 09/04/2021 - Report and            1.75   $395.00    $691.25
              Document Preparation / Linda Brooke




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Service       Texas Foster Care Monitoring - 09/04/2021 - Document            2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 09/04/2021 - EVE/WKND            8.00   $425.00   $3,400.00
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 09/05/2021 - Document            2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 09/05/2021 - Report and          3.58   $395.00   $1,414.10
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 09/05/2021 - Document            2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 09/05/2021 - Report and          9.00   $325.00   $2,925.00
              Document Preparation / Viveca Martinez


Service       Texas Foster Care Monitoring - 09/05/2021 - Document            2.00   $395.00    $790.00
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 09/05/2021 - EVE/WKND            7.00   $425.00   $2,975.00
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 09/06/2021 - Document            7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 09/06/2021 - Report and         10.08   $395.00   $3,981.60
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 09/06/2021 - Document            0.50   $325.00    $162.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 09/06/2021 - Report and         10.00   $325.00   $3,250.00
              Document Preparation / Viveca Martinez


Service       Texas Foster Care Monitoring - 09/06/2021 - Document            8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 09/06/2021 - EVE/WKND            7.50   $425.00   $3,187.50
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 09/07/2021 - Document            8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 09/07/2021 -                     0.07   $250.00     $17.50
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Catherine Morris




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Service       Texas Foster Care Monitoring - 09/07/2021 - Document               6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 09/07/2021 - Document               8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 09/07/2021 - Document               9.00   $250.00   $2,250.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 09/07/2021 - Document               8.25   $325.00   $2,681.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 09/07/2021 - Report and            11.00   $395.00   $4,345.00
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 09/07/2021 - Report and             9.00   $325.00   $2,925.00
              Document Preparation / Viveca Martinez


Service       Texas Foster Care Monitoring - 09/07/2021 - Report and             3.00   $250.00    $750.00
              Document Preparation / Shay Price


Service       Texas Foster Care Monitoring - 09/07/2021 - Document               5.00   $250.00   $1,250.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 09/07/2021 - Document               8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 09/07/2021 - Document               5.25   $325.00   $1,706.25
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 09/07/2021 - Meetings with          8.50   $325.00   $2,762.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Clarice
              Rogers


Service       Texas Foster Care Monitoring - 09/07/2021 - Meetings with          2.50   $425.00   $1,062.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 09/07/2021 - Report and             2.00   $425.00    $850.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 09/07/2021 - EVE/WKND               2.00   $425.00    $850.00
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 09/07/2021 - Document               6.75   $200.00   $1,350.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 09/08/2021 - Document               2.17   $250.00    $542.50
              Review/Data Analysis/Verification Work / Catherine Morris



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Service       Texas Foster Care Monitoring - 09/08/2021 - Document              2.17   $325.00    $705.25
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 09/08/2021 -                       0.40   $250.00    $100.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Catherine Morris


Service       Texas Foster Care Monitoring - 09/08/2021 -                       0.08   $250.00     $20.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Catherine Morris


Service       Texas Foster Care Monitoring - 09/08/2021 - Document              0.82   $250.00    $205.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 09/08/2021 -                       0.17   $250.00     $42.50
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Catherine Morris


Service       Texas Foster Care Monitoring - 09/08/2021 -                       0.43   $250.00    $107.50
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Catherine Morris


Service       Texas Foster Care Monitoring - 09/08/2021 - Document              1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 09/08/2021 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 09/08/2021 - Document              7.50   $325.00   $2,437.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 09/08/2021 - Meetings with         0.50   $325.00    $162.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 09/08/2021 - Report and            9.42   $395.00   $3,720.90
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 09/08/2021 - Document              8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 09/08/2021 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Deborah Borman




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Service        Texas Foster Care Monitoring - 09/08/2021 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/08/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/08/2021 - Report and            8.00   $325.00   $2,600.00
               Document Preparation / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/08/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/08/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/08/2021 - Document              2.17   $395.00    $857.15
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/08/2021 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/08/2021 - Report and            4.00   $425.00   $1,700.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/08/2021 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/09/2021 - Document              2.53   $325.00    $822.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/09/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/09/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/09/2021 - Meetings with         0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/09/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/09/2021 -                       1.33   $250.00    $332.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Catherine Morris




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Service        Texas Foster Care Monitoring - 09/09/2021 - Meetings with           0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 09/09/2021 - Document                0.15   $250.00     $37.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/09/2021 - Document                0.18   $250.00     $45.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/09/2021 - Document                3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/09/2021 - Document                1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/09/2021 - Document                8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 09/09/2021 - Report and              8.00   $325.00   $2,600.00
               Document Preparation / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/09/2021 - Document                8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/09/2021 - Report and              9.33   $395.00   $3,685.35
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 09/09/2021 - Document                8.42   $325.00   $2,736.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/09/2021 - Document                8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/09/2021 -                         1.33   $395.00    $525.35
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Beth Mitchell


Service        Texas Foster Care Monitoring - 09/09/2021 - Document                0.50   $395.00    $197.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/09/2021 - Document                9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/09/2021 - Report and              4.00   $425.00   $1,700.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/09/2021 - Document                5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Adrian Gaspar




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Service        Texas Foster Care Monitoring - 09/09/2021 - EVE/WKND               2.00   $425.00    $850.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/10/2021 - Document               6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/10/2021 - Meetings with          1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/10/2021 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 09/10/2021 - Report and            10.17   $395.00   $4,017.15
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 09/10/2021 - Report and             9.50   $325.00   $3,087.50
               Document Preparation / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/10/2021 - Document               2.50   $250.00    $625.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/10/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/10/2021 - Document               4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/10/2021 - Document               7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/10/2021 - Document              10.00   $325.00   $3,250.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/10/2021 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/10/2021 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/10/2021 - Report and             2.50   $425.00   $1,062.50
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/10/2021 - Meetings with          1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/10/2021 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar



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Service        Texas Foster Care Monitoring - 09/11/2021 - Document              1.30   $250.00    $325.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/11/2021 - Document              3.42   $325.00   $1,111.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/11/2021 - EVE/WKND              9.00   $425.00   $3,825.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/12/2021 - Document              6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/12/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/12/2021 - Document              1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/12/2021 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/12/2021 - Report and            3.00   $325.00    $975.00
               Document Preparation / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/12/2021 - EVE/WKND              7.00   $425.00   $2,975.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/13/2021 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              8.67   $325.00   $2,817.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis




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Service        Texas Foster Care Monitoring - 09/13/2021 - Document              7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              2.50   $325.00    $812.50
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/13/2021 - Project               2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/13/2021 - Report and            8.00   $325.00   $2,600.00
               Document Preparation / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              2.00   $395.00    $790.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/13/2021 - Meetings with         2.00   $425.00    $850.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/13/2021 - Report and            2.50   $425.00   $1,062.50
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/13/2021 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial              3.48   $250.00    $870.00
               Proceeding / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/14/2021 - Document              0.88   $325.00    $286.00
               Review/Data Analysis/Verification Work / Monica Santiago




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Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial                 3.00   $300.00    $900.00
               Proceeding / Monica Benedict


Service        Texas Foster Care Monitoring - 09/14/2021 - Meetings with            4.50   $250.00   $1,125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial                 3.00   $120.00    $360.00
               Proceeding / Anna Farr


Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial                 3.05   $250.00    $762.50
               Proceeding / Catherine Morris


Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial                 3.05   $200.00    $610.00
               Proceeding / Cassie Davis


Service        Texas Foster Care Monitoring - 09/14/2021 - Document                 1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/14/2021 - Document                 5.00   $120.00    $600.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/14/2021 - Meetings with            2.75   $250.00    $687.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial                 3.03   $325.00    $984.75
               Proceeding / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial                 3.58   $250.00    $895.00
               Proceeding / Veronica Lockett-Villalpando


Service        Texas Foster Care Monitoring - 09/14/2021 - Document                 4.50   $300.00   $1,350.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/14/2021 - Document                 4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/14/2021 - Meetings with            3.00   $395.00   $1,185.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/14/2021 - Project                  2.50   $395.00    $987.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/14/2021 - Document                 3.12   $325.00   $1,014.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial                 2.33   $325.00    $757.25
               Proceeding / Monica Santiago



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Service        Texas Foster Care Monitoring - 09/14/2021 - Document               5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 09/14/2021 - Document               1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial               3.50   $325.00   $1,137.50
               Proceeding / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/14/2021 - Document               4.50   $250.00   $1,125.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/14/2021 - Document               4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/14/2021 - Document               1.25   $250.00    $312.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial               3.00   $325.00    $975.00
               Proceeding / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/14/2021 - Project                5.00   $325.00   $1,625.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial               3.33   $395.00   $1,315.35
               Proceeding / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/14/2021 - Document               5.38   $325.00   $1,748.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/14/2021 - Document               1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/14/2021 - Meetings with          3.42   $325.00   $1,111.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/14/2021 - Document               5.25   $325.00   $1,706.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial               3.25   $425.00   $1,381.25
               Proceeding / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/14/2021 - Meetings with          0.33   $425.00    $140.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/14/2021 - Judicial               2.60   $200.00    $520.00
               Proceeding / Adrian Gaspar



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Service        Texas Foster Care Monitoring - 09/14/2021 - Document                 5.40   $200.00   $1,080.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/15/2021 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/15/2021 - Document                 1.12   $325.00    $364.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/15/2021 - Meetings with            0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 09/15/2021 - Meetings with            0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 09/15/2021 - Meetings with            0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 09/15/2021 - Document                 7.50   $250.00   $1,875.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/15/2021 - Document                 1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/15/2021 - Project                  2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/15/2021 - Document                 4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/15/2021 - Document                 1.75   $250.00    $437.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/15/2021 - Document                 8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/15/2021 - Document                 0.55   $250.00    $137.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/15/2021 - Document                 3.00   $200.00    $600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 09/15/2021 - Project                  7.00   $325.00   $2,275.00
               Management & Planning / Viveca Martinez




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Service        Texas Foster Care Monitoring - 09/15/2021 - Meetings with          0.50   $325.00    $162.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Santiago


Service        Texas Foster Care Monitoring - 09/15/2021 - Document               2.17   $325.00    $705.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/15/2021 - Project                3.00   $395.00   $1,185.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/15/2021 - Meetings with          1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 09/15/2021 - Document               7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/15/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/15/2021 - Meetings with          0.50   $325.00    $162.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/15/2021 - Document               3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/15/2021 - Document               0.50   $395.00    $197.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/15/2021 - Meetings with          1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/15/2021 - Document               1.00   $200.00    $200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/15/2021 - Judicial               7.00   $200.00   $1,400.00
               Proceeding / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/16/2021 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/16/2021 - Document               7.58   $250.00   $1,895.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/16/2021 - Document               3.92   $325.00   $1,274.00
               Review/Data Analysis/Verification Work / Monica Santiago


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Service        Texas Foster Care Monitoring - 09/16/2021 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 09/16/2021 - Document              0.25   $250.00     $62.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/16/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/16/2021 - Project               3.00   $300.00    $900.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/16/2021 - Document              3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/16/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/16/2021 - Project               4.17   $395.00   $1,647.15
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/16/2021 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/16/2021 - Document              2.25   $325.00    $731.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/16/2021 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/16/2021 - Document              6.50   $325.00   $2,112.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/17/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/17/2021 - Document              2.88   $325.00    $936.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/17/2021 - Meetings with         0.75   $395.00    $296.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/17/2021 - Project               0.50   $395.00    $197.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/17/2021 - Meetings with         1.00   $300.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict




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Service        Texas Foster Care Monitoring - 09/17/2021 - Project                1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/17/2021 - Document               5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/17/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/17/2021 - Meetings with          1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 09/17/2021 - Document               7.33   $325.00   $2,382.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/17/2021 - Document               7.17   $250.00   $1,792.50
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/17/2021 - Meetings with          1.17   $250.00    $292.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 09/17/2021 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 09/17/2021 - Document               2.42   $325.00    $786.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/17/2021 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/17/2021 - Document               7.42   $325.00   $2,411.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/19/2021 - Document               3.03   $250.00    $757.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/19/2021 - Document               3.83   $250.00    $957.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/20/2021 - Meetings with          0.61   $250.00    $152.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando




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Service        Texas Foster Care Monitoring - 09/20/2021 - Meetings with           1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/20/2021 - Meetings with           0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                0.75   $250.00    $187.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                4.50   $200.00    $900.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 09/20/2021 - Meetings with           3.50   $200.00    $700.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Cassie
               Davis


Service        Texas Foster Care Monitoring - 09/20/2021 - Project                 4.00   $300.00   $1,200.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                7.23   $250.00   $1,807.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/20/2021 - Meetings with           1.75   $395.00    $691.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                1.33   $395.00    $525.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/20/2021 - Project                 7.17   $395.00   $2,832.15
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                2.00   $300.00    $600.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                8.83   $325.00   $2,869.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/20/2021 - Meetings with           0.72   $325.00    $234.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster




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Service        Texas Foster Care Monitoring - 09/20/2021 - Meetings with            0.75   $325.00    $243.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                 0.25   $325.00     $81.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                 4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                 2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                 8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/20/2021 - Meetings with            1.50   $325.00    $487.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                 6.92   $325.00   $2,249.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/20/2021 - Meetings with            0.75   $250.00    $187.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                 7.25   $250.00   $1,812.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/20/2021 - Meetings with            0.50   $395.00    $197.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 09/20/2021 - Meetings with            0.50   $395.00    $197.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 09/20/2021 - Meetings with            1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/20/2021 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/21/2021 - Document                 5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Deborah Borman




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Service        Texas Foster Care Monitoring - 09/21/2021 - Document              6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 09/21/2021 - Project               2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/21/2021 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/21/2021 - Document              1.78   $300.00    $534.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/21/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/21/2021 - Document              9.42   $325.00   $3,061.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/21/2021 - Document              5.67   $395.00   $2,239.65
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/21/2021 - Meetings with         2.50   $395.00    $987.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/21/2021 - Project               0.83   $395.00    $327.85
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/21/2021 - Project               1.00   $325.00    $325.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/21/2021 - Document              7.08   $325.00   $2,301.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/21/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/21/2021 - Document              6.50   $250.00   $1,625.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/21/2021 - Document              5.75   $325.00   $1,868.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/21/2021 - Meetings with         0.83   $395.00    $327.85
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 09/21/2021 - Document              1.70   $395.00    $671.50
               Review/Data Analysis/Verification Work / Beth Mitchell



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Service        Texas Foster Care Monitoring - 09/21/2021 - Document                6.00   $120.00    $720.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/21/2021 - Project                 2.00   $120.00    $240.00
               Management & Planning / Anna Farr


Service        Texas Foster Care Monitoring - 09/21/2021 - Meetings with           1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/21/2021 - Meetings with           0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/21/2021 - Document                1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/22/2021 - Document                0.32   $300.00     $96.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/22/2021 - Document                0.62   $300.00    $186.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/22/2021 - Document                7.08   $250.00   $1,770.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/22/2021 - Document                0.13   $300.00     $39.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/22/2021 - Document                0.55   $300.00    $165.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/22/2021 - Document                0.68   $300.00    $204.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with           0.92   $250.00    $230.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with           0.92   $250.00    $230.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 09/22/2021 -                         0.08   $250.00     $20.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Catherine Morris




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Service        Texas Foster Care Monitoring - 09/22/2021 - Document              0.75   $250.00    $187.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/22/2021 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Cassie Davis


Service        Texas Foster Care Monitoring - 09/22/2021 - Document              0.75   $250.00    $187.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/22/2021 - Document              4.25   $325.00   $1,381.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with         0.90   $325.00    $292.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Santiago


Service        Texas Foster Care Monitoring - 09/22/2021 - Document              0.50   $250.00    $125.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/22/2021 - Document              0.78   $300.00    $234.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with         0.92   $395.00    $363.40
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with         1.00   $300.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 09/22/2021 - Document              4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/22/2021 - Project               1.50   $300.00    $450.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/22/2021 - Document              5.83   $395.00   $2,302.85
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/22/2021 - Project               1.00   $395.00    $395.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 09/22/2021 - Document              7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Nancy Arrigona



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Service        Texas Foster Care Monitoring - 09/22/2021 - Document                 0.15   $300.00     $45.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/22/2021 - Document                 8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/22/2021 - Document                 8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with            0.83   $250.00    $207.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 09/22/2021 - Document                 5.17   $250.00   $1,292.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/22/2021 - Document                 3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with            0.92   $325.00    $299.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with            4.00   $325.00   $1,300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with            0.50   $325.00    $162.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/22/2021 - Document                 0.75   $395.00    $296.25
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with            0.92   $395.00    $363.40
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 09/22/2021 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr




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Service        Texas Foster Care Monitoring - 09/22/2021 - Meetings with          1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               7.83   $250.00   $1,957.50
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               0.16   $250.00     $40.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               5.58   $250.00   $1,395.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               8.67   $325.00   $2,817.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               0.25   $300.00     $75.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               0.37   $300.00    $111.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               8.75   $325.00   $2,843.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/23/2021 - Meetings with          4.50   $325.00   $1,462.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/23/2021 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody




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Service        Texas Foster Care Monitoring - 09/23/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/23/2021 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/23/2021 - Report and            3.00   $425.00   $1,275.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              0.49   $300.00    $147.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              7.84   $250.00   $1,960.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              0.40   $300.00    $120.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              1.05   $300.00    $315.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/24/2021 -                       0.38   $395.00    $150.10
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Linda Brooke


Service        Texas Foster Care Monitoring - 09/24/2021 - Report and            0.92   $395.00    $363.40
               Document Preparation / Linda Brooke


Service        Texas Foster Care Monitoring - 09/24/2021 - Project               5.42   $395.00   $2,140.90
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/24/2021 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              0.12   $300.00     $36.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              0.17   $250.00     $42.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              0.62   $300.00    $186.00
               Review/Data Analysis/Verification Work / Robert McManus



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Service        Texas Foster Care Monitoring - 09/24/2021 - Document              1.91   $300.00    $573.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/24/2021 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              8.33   $325.00   $2,707.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              2.25   $325.00    $731.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/24/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/24/2021 - Meetings with         1.50   $425.00    $637.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/24/2021 - Report and            1.00   $425.00    $425.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/25/2021 - Document              0.60   $300.00    $180.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/25/2021 - Document              1.16   $300.00    $348.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/25/2021 - Document              0.31   $300.00     $93.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/25/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/25/2021 - Document              3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/25/2021 - EVE/WKND              8.00   $425.00   $3,400.00
               Report and Document Preparation / Deborah Fowler




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Service        Texas Foster Care Monitoring - 09/26/2021 - Document              0.35   $300.00    $105.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/26/2021 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/26/2021 - Document              0.34   $300.00    $102.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/26/2021 - Document              0.28   $300.00     $84.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/26/2021 - Document              0.20   $300.00     $60.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/26/2021 - Document              0.24   $300.00     $72.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/26/2021 - Document              1.37   $300.00    $411.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 09/26/2021 - EVE/WKND              5.00   $425.00   $2,125.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/27/2021 - Document              4.62   $250.00   $1,155.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with         1.50   $250.00    $375.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/27/2021 -                       0.46   $300.00    $138.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/27/2021 -                       0.70   $300.00    $210.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/27/2021 -                       1.28   $300.00    $384.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/27/2021 - Document              4.75   $250.00   $1,187.50
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/27/2021 - Document              2.95   $325.00    $958.75
               Review/Data Analysis/Verification Work / Monica Santiago


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Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with           0.63   $325.00    $204.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Santiago


Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with           0.67   $250.00    $167.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with           1.20   $250.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with           1.35   $250.00    $337.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Veronica
               Lockett-Villalpando


Service        Texas Foster Care Monitoring - 09/27/2021 - Project                 2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/27/2021 - Document                5.50   $300.00   $1,650.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/27/2021 - Document                9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with           0.50   $325.00    $162.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 09/27/2021 -                         1.84   $300.00    $552.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with           0.67   $250.00    $167.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with           0.63   $325.00    $204.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with           0.50   $395.00    $197.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell



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Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with            2.25   $325.00    $731.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with            1.92   $395.00    $758.40
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/27/2021 - Document                 7.33   $395.00   $2,895.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/27/2021 - Project                  1.75   $395.00    $691.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/27/2021 - Document                 4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/27/2021 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with            0.67   $250.00    $167.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 09/27/2021 - Document                 1.20   $250.00    $300.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/27/2021 - Document                 1.68   $250.00    $420.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/27/2021 - Document                 4.45   $250.00   $1,112.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/27/2021 - Document                 7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with            0.50   $200.00    $100.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Adrian
               Gaspar


Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with            1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Adrian
               Gaspar


Service        Texas Foster Care Monitoring - 09/27/2021 - Document                 6.50   $200.00   $1,300.00
               Review/Data Analysis/Verification Work / Adrian Gaspar




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Service        Texas Foster Care Monitoring - 09/27/2021 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/27/2021 - Report and            2.00   $425.00    $850.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 09/28/2021 -                       1.16   $250.00    $290.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Veronica Lockett-Villalpando


Service        Texas Foster Care Monitoring - 09/28/2021 -                       0.45   $300.00    $135.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/28/2021 -                       1.47   $300.00    $441.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/28/2021 - Project               2.50   $300.00    $750.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/28/2021 - Document              2.20   $250.00    $550.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/28/2021 - Meetings with         0.17   $250.00     $42.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 09/28/2021 -                       1.33   $250.00    $332.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Mahiri Moody


Service        Texas Foster Care Monitoring - 09/28/2021 -                       0.71   $300.00    $213.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/28/2021 - Document              5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/28/2021 - Document              2.46   $250.00    $615.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando




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Service        Texas Foster Care Monitoring - 09/28/2021 -                       0.25   $300.00     $75.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/28/2021 - Document              6.42   $325.00   $2,086.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/28/2021 - Document              9.00   $325.00   $2,925.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/28/2021 - Document              8.58   $395.00   $3,389.10
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 09/28/2021 - Project               1.33   $395.00    $525.35
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 09/28/2021 -                       0.58   $395.00    $229.10
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Linda Brooke


Service        Texas Foster Care Monitoring - 09/28/2021 - Document              5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/28/2021 - Document              5.00   $120.00    $600.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/28/2021 -                       2.00   $120.00    $240.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Anna Farr


Service        Texas Foster Care Monitoring - 09/28/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/28/2021 - Document              4.00   $250.00   $1,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/28/2021 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/28/2021 - Meetings with         0.25   $200.00     $50.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Adrian
               Gaspar


Service        Texas Foster Care Monitoring - 09/28/2021 - Meetings with         1.00   $200.00    $200.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Adrian
               Gaspar




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Service        Texas Foster Care Monitoring - 09/28/2021 - Document              6.75   $200.00   $1,350.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/28/2021 - Meetings with         1.50   $425.00    $637.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 09/29/2021 -                       0.50   $300.00    $150.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/29/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/29/2021 -                       0.28   $300.00     $84.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/29/2021 -                       0.53   $300.00    $159.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/29/2021 - Document              6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/29/2021 - Meetings with         0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 09/29/2021 - Document              3.58   $250.00    $895.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/29/2021 -                       0.93   $300.00    $279.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/29/2021 - Document              8.42   $325.00   $2,736.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 09/29/2021 - Document              8.83   $325.00   $2,869.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 09/29/2021 - Document              7.25   $395.00   $2,863.75
               Review/Data Analysis/Verification Work / Linda Brooke




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Service        Texas Foster Care Monitoring - 09/29/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/29/2021 - Document              4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/29/2021 - Project               2.00   $300.00    $600.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/29/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/29/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 09/29/2021 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 09/29/2021 - Document              0.75   $250.00    $187.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 09/30/2021 - Document              8.58   $250.00   $2,145.00
               Review/Data Analysis/Verification Work / Veronica Lockett-
               Villalpando


Service        Texas Foster Care Monitoring - 09/30/2021 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 09/30/2021 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 09/30/2021 -                       0.65   $300.00    $195.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 09/30/2021 - Project               1.50   $300.00    $450.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 09/30/2021 - Document              4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 09/30/2021 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 09/30/2021 - Meetings with         0.75   $395.00    $296.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 09/30/2021 - Document              9.33   $395.00   $3,685.35
               Review/Data Analysis/Verification Work / Linda Brooke



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Service           Texas Foster Care Monitoring - 09/30/2021 - Document                   8.00            $250.00             $2,000.00
                  Review/Data Analysis/Verification Work / Mahiri Moody


Service           Texas Foster Care Monitoring - 09/30/2021 - Document                   7.50            $325.00             $2,437.50
                  Review/Data Analysis/Verification Work / Nancy Arrigona


Service           Texas Foster Care Monitoring - 09/30/2021 - Document                   8.00            $200.00             $1,600.00
                  Review/Data Analysis/Verification Work / Adrian Gaspar


Service           Texas Foster Care Monitoring - 09/30/2021 - Document                   2.50            $250.00               $625.00
                  Review/Data Analysis/Verification Work / Catherine Morris


Service           Texas Foster Care Monitoring - 09/30/2021 - Meetings with              1.00            $425.00               $425.00
                  agency leadership, staff, clients, conference calls, time spent
                  with team, plaintiffs consultants or other providers. / Deborah
                  Fowler


Service           Texas Foster Care Monitoring - 09/30/2021 - Project                    1.00            $425.00               $425.00
                  Management & Planning / Deborah Fowler


Service           Texas Foster Care Monitoring - 09/30/2021 - Meetings with              1.25            $425.00               $531.25
                  agency leadership, staff, clients, conference calls, time spent
                  with team, plaintiffs consultants or other providers. / Deborah
                  Fowler


Service           Texas Foster Care Monitoring - 09/30/2021 - Meetings with              0.42            $425.00               $178.50
                  agency leadership, staff, clients, conference calls, time spent
                  with team, plaintiffs consultants or other providers. / Deborah
                  Fowler


                                                                                                 Amount Due            $575,379.75




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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